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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

OPTIS WIRELESS TECHNOLOGY, LLC,                  §
PANOPTIS PATENT MANAGEMENT,                      §
LLC, OPTIS CELLULAR                              §    Case No. 2:17-cv-00123-JRG-RSP
TECHNOLOGY, LLC.,                                §
                                                 §
                Plaintiffs,                      §
                                                 §
v.                                               §
                                                 §
HUAWEI TECHNOLOGIES CO. LTD.,                    §
HUAWEI DEVICE USA, INC., HUAWEI                  §
DEVICE CO. LTD.,                                 §
                                                 §
                Defendants.                      §

                                            ORDER

       Before the court is the report and recommendation of Magistrate Judge Payne, which

recommends that Plaintiffs’ motion for an anti-suit injunction be denied without prejudice. ECF

No. 137. For dispositive matters referred to a magistrate judge, the district court must “determine
   .
de novo any part of the magistrate judge’s disposition that has been properly objected to.” Fed. R.

Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(C). “The district judge may accept, reject, or modify the

recommend disposition.” Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(C). No objections have

been filed, and the time to do so has now passed. Accordingly, upon de novo review, the report

and recommendation is ADOPTED, and Plaintiffs’ motion for an anti-suit injunction, ECF No.

76, is DENIED WITHOUT PREJUDICE.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 14th day of May, 2018.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
